
Paul Mostun, D.C., as Assignee of Angel Velazquez, Appellant, 
againstCountrywide Insurance, Respondent.




Korsunskiy Legal Group, P.C. (Henry Guindi of counsel), for appellant.
Jaffe &amp; Koumourdas, LLP (Jean H. Kang of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Maureen A. Healy, J.), entered May 28, 2015. The order granted defendant's posttrial motion to toll the accrual of no-fault statutory prejudgment interest based upon plaintiff's delay in the prosecution of the action and held that interest shall accrue from December 18, 2014.




ORDERED that the order is modified by providing that no-fault statutory prejudgment interest shall accrue from January 23, 2014; as so modified, the order is affirmed, without costs. 
For the reasons stated in Vitality Chiropractic, P.C., as Assignee of Angel Velazquez v Countrywide Ins. (___ Misc 3d ___, 2018 NY Slip Op _____ [appeal No. 2015-2906 Q C], decided herewith), the order is modified by providing that no-fault statutory prejudgment interest shall accrue from January 23, 2014.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: June 01, 2018










